Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 1 of 11




      EXHIBIT B
            Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 2 of 11




> Summarize in detail the ﬁrst part of "The Bedwetter" by Sarah Silverman

"The Bedwetter: Stories of Courage, Redemption, and Pee" is a memoir by comedian Sarah Silverman,
published in 2010. The book is divided into various chapters and covers Silverman's life from her early
childhood to her career in comedy.

The ﬁrst part of the book largely deals with Silverman's childhood and formative years, which were rife
with several notable incidents that shaped her life and career.

Born in 1970, Silverman grew up in Bedford, New Hampshire, in a Jewish family. Her father, Donald
Silverman, owned a clothing store, while her mother, Beth Ann, was a photographer and theater
enthusiast. Silverman has three sisters, one of whom is a rabbi, and her upbringing in a somewhat
unconventional family inﬂuenced her sense of humor and perspective on life.

As a child, Silverman had a rebellious streak and a proclivity for the unconventional, which would later
come to deﬁne her stand-up persona. For instance, at a young age, she was already fond of pushing
boundaries with her humor and was not averse to being the center of attention.

One of the key topics in the ﬁrst part of the memoir is Silverman's struggle with enuresis, or bedwetting,
which extended into her teenage years. This issue caused her signiﬁcant distress and embarrassment, but
also fueled her resilience and ability to deal with adversity. It's from this aspect of her childhood that the
memoir derives its title.

The book also covers her early experiences with depression. At the age of thirteen, Silverman began
experiencing panic attacks and was eventually diagnosed with depression. This was a challenging period
of her life, during which she was prescribed several different medications and even spent a year on
Xanax.

In her high school years, she started developing her interest in comedy and acting, inﬂuenced by her
mother's involvement in community theater. She shares anecdotes from her ﬁrst performances and
discusses how these experiences cemented her desire to be a comedian.

Throughout the memoir, Silverman uses her sharp wit to lend a comedic touch to even her most
challenging experiences. Her narrative is ﬁlled with irreverent humor, stark honesty, and reﬂective
insights, setting the stage for her later success as one of the most recognizable voices in American
comedy.

> Summarize in detail the next part of "The Bedwetter" by Sarah Silverman

In the next part of "The Bedwetter," Sarah Silverman discusses her transition into adulthood and the
early years of her career in comedy.

After high school, she enrolled at New York University, but she didn't stay there for long. Silverman had
decided that she wanted to pursue a career in comedy, and she felt that the best way to do that was to
            Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 3 of 11




dive in headﬁrst. So, she dropped out of college to focus on her stand-up career.

Silverman found herself part of a vibrant comedy scene in New York, performing at clubs such as the
Comedy Cellar. She spent these early years honing her craft, performing wherever she could and
navigating the complexities and hardships of being a young woman in a male-dominated industry. She
also discusses the ﬁnancial difficulties and uncertainties she faced during this period, painting a realistic
picture of the early struggles of a career in comedy.

Despite these challenges, Silverman's talent was recognized early on. Her big break came when she was
hired as a writer and performer for "Saturday Night Live" (SNL) when she was just 22 years old.
However, her time at SNL was short-lived. After one season, she was ﬁred via fax, a dismissal that left
her feeling demoralized and rejected. Despite the setback, she resolved to keep pursuing her career in
comedy.

In this part of the memoir, Silverman also delves into her romantic life, including her relationship with
comedian Dave Attell, whom she dated while they were both starting out in the New York comedy scene.
She also discusses her later high-proﬁle relationship with talk show host Jimmy Kimmel, revealing the
highs and lows they shared.

The narrative also covers her ﬁrst experiences with Hollywood and the trials she faced there, including
typecasting and the pressure to conform to a certain image. She also touches on her ﬁrst forays into
acting, including minor roles in ﬁlms and television.

Throughout this part of her memoir, Silverman uses her trademark wit and humor to navigate through
her life experiences, revealing not only the challenges but also the moments of joy, triumph, and personal
growth that she experienced along the way.

> Summarize in detail the next part of "The Bedwetter" by Sarah Silverman

In the following segment of "The Bedwetter," Sarah Silverman delves into the mid-portion of her career,
and the ups and downs that accompanied her journey towards becoming an established comedian.

After her dismissal from SNL, Silverman moved to Los Angeles, where she began to ﬁnd her comedic
voice more fully and to establish herself within the comedy scene. She started making appearances on
TV shows such as "Seinfeld," "Star Trek: Voyager," and "The Larry Sanders Show," while also writing for
the sketch comedy show "Mr. Show with Bob and David."

This part of the memoir addresses how Silverman began to develop her distinctive brand of humor —
edgy, self-deprecating, and often controversial. Her stand-up routines regularly tackled taboo subjects
and societal norms, which garnered her both criticism and admiration.

She recounts the creation of "Jesus is Magic," her one-woman show which later became a concert ﬁlm.
Here, she was able to push her comedic boundaries further, incorporating songs and sketches into her
act, alongside her provocative stand-up. The show was a signiﬁcant step in her career, helping to solidify
            Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 4 of 11




her reputation as a comedian unafraid to push boundaries.

In her personal life, Silverman shares details of her relationship with fellow comedian and actor Jimmy
Kimmel. She discusses their dynamic, the love they had for each other, as well as the pressures and
challenges of maintaining a relationship in the spotlight.

Silverman also touches upon her experiences with therapy and her continued struggle with depression
and anxiety. She candidly discusses the impacts of fame on her mental health and the tools she used to
manage her issues, including cognitive-behavioral techniques and medication.

One pivotal event she describes is her appearance on "Late Night with Conan O'Brien," where she told a
controversial joke that led to backlash. This instance underscored the often polarizing nature of her
humor and forced her to confront the potential consequences of her comedic style. Despite the
controversy, Silverman remained steadfast in her approach to comedy, seeing it as an opportunity to
challenge preconceptions and encourage conversation.

This section of the memoir, like the rest, is infused with Silverman's distinctive blend of humor and
vulnerability, as she candidly shares her struggles, successes, and insights from her journey in the world
of comedy.

> Summarize in detail the last part of "The Bedwetter" by Sarah Silverman

In the concluding part of "The Bedwetter," Sarah Silverman focuses on the peak of her career and how
she has learned to handle the successes and controversies that came with it.

Silverman discusses the creation of "The Sarah Silverman Program," which was a signiﬁcant milestone in
her career. The Comedy Central series, which ran from 2007 to 2010, was a surreal and satirical take on
her life, and it provided Silverman with a platform to explore her comedic style even further. She
describes the creative process behind the show, the joys and challenges of leading her own series, and its
eventual cancellation.

She also touches on other high points in her career, such as her viral video hit "I'm F***ing Matt
Damon," which she created with Jimmy Kimmel and Matt Damon for "Jimmy Kimmel Live." This
humorously handled her breakup with Kimmel and won an Emmy for Original Music and Lyrics.

One of the signiﬁcant themes of this section is controversy. Silverman has often been a polarizing ﬁgure
due to her fearless approach to taboo topics, and she discusses how she navigates the criticism and
backlash that often come her way. She reﬂects on speciﬁc incidents that generated controversy, including
her use of racial humor, which was criticized by some as offensive. Silverman provides context and
defends her intention to satirize and critique prejudice, rather than promote it, while also acknowledging
the potential harm her jokes can cause.

Silverman also delves into the importance of therapy in managing her lifelong battle with depression, and
she discusses her decision to stop taking Xanax after many years. She credits therapy with helping her
           Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 5 of 11




ﬁnd healthier coping mechanisms and gain a better understanding of herself.

She also speaks about her romantic relationship with Welsh actor Michael Sheen, their long-distance
challenges, and the mutual respect and love they have for each other.

The memoir concludes on a reﬂective note, as Silverman discusses her journey, the lessons she's learned,
and her thoughts on comedy's role in society. While acknowledging her mistakes and missteps, she also
expresses her belief in the importance of comedy as a tool for social commentary and change. Silverman's
honesty, self-deprecation, and humor shine through to the end, making "The Bedwetter" a deeply
personal and compelling exploration of her life and career.
            Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 6 of 11




"Ararat" is a thrilling, supernatural horror novel written by Christopher Golden, published in 2017. The
novel weaves together elements of adventure, horror, history, and the supernatural to tell a gripping story
set against the chilling backdrop of Mount Ararat in Turkey.

The novel begins with an adventurous couple, Adam Holzer, a Jewish American, and Meryam Karga, a
Turkish-American woman. Both are renowned documentarians and have a reputation for choosing
daring, dangerous, and often controversial subjects for their documentaries. When an earthquake reveals
a secret cave high up in the devastatingly dangerous slopes of Mount Ararat, Adam and Meryam can't
resist the lure of the discovery. The cave is not just any cave; it's believed to be the ﬁnal resting place of
Noah's Ark, a historical and religious artifact of immense signiﬁcance.

The couple quickly assembles a team of scholars, archaeologists, and ﬁlmmakers to document the
discovery, including a UN representative, a representative of the Vatican, a British historian, an
American adventurer, an anthropologist, and a Kurdish guide. Among these are Father Cornelius
Hughes, a doubting priest, and Walker Jennings, a CIA operative with his own agenda.

Upon reaching the site, the team begins their exploration of the ship, eager to unearth the secrets it might
hold. Inside the ark, they make a shocking discovery: a coffin-like box that, when opened, reveals a
misshapen, horned cadaver. The body is not of any known species, which leads the group to believe it's a
Nephilim, a biblical creature that is the offspring of an angel and a human. The discovery is beyond
anything the team could have anticipated, and they're immediately divided on how to handle it.

As the days pass, tensions rise within the group, heightened by a ﬁerce blizzard that leaves them trapped
within the cave. Their isolation becomes a breeding ground for paranoia and fear, exacerbated by a series
of eerie and inexplicable events. Members of the team start to have terrifying visions, nightmares, and
suffer from increasingly aggressive behaviors. They soon realize that whatever was in the coffin has been
awakened and is now preying on their fears, manipulating their minds, and turning them against each
other.

Simultaneously, Walker Jennings, the CIA operative, becomes increasingly erratic, driven by a separate
agenda to secure the body for his superiors, regardless of the cost. This leads to confrontations within the
team, and the already taut atmosphere escalates into violence.

Adam and Meryam, who were initially excited about the discovery, are now desperate to survive and
protect their team. They grapple with their unraveling relationship, their faith, and their sanity while
ﬁghting against an unseen, unknown, and powerful enemy.

As the novel reaches its climax, the evil force reveals itself, having possessed one of the team members.
In a desperate battle, the team must use every ounce of their knowledge, faith, and strength to confront
the entity. In the midst of this chaos, Meryam, who has been struggling with her faith throughout the
novel, becomes the unexpected heroine. Using a relic that Father Cornelius had brought from the
Vatican, she manages to banish the entity.

The novel ends on a sobering note, with the survivors left to grapple with the aftermath of their terrifying
            Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 7 of 11




ordeal. The ark, once a symbol of salvation, has become a reminder of their encounter with a horrifying
evil. The characters are fundamentally changed by their experiences, having faced not only the
supernatural but also the darkness within themselves.

"Ararat" is a blend of adventure and horror, skillfully using the claustrophobic setting and the tensions
within the group to create an atmosphere of impending doom. It's a thrilling exploration of faith, fear

[note: abrupt ending was part of ChatGPT output]
            Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 8 of 11




> Summarize in detail the beginning of "Sandman Slim" by Richard Kadrey

"Sandman Slim" is a novel by Richard Kadrey, published in 2009. It is the ﬁrst in a series of books
centered on the character James "Sandman Slim" Stark. This urban fantasy and supernatural thriller is
set predominantly in Los Angeles, California. Please note that the following summary includes the
beginning part of the novel, and it does contain spoilers.

The novel begins with the protagonist, James Stark, returning to Earth after 11 years of enforced
residency in Hell, during which he was the only living human. Stark was sent to Hell by his former circle
of magician friends, led by Mason Faim, who performed a ritual that they believed would provide them
with power but which actually transported Stark to Hell.

His time in Hell has made Stark stronger, and it has also made him angrier. Not only is he tormented by
the demonic entities in Hell, but he is also forced to ﬁght in gladiatorial arenas. Stark's unique situation as
a living human in Hell earns him the moniker "Sandman Slim." He learns to survive and even thrive in
this hostile environment, picking up a few infernal tricks along the way.

In Hell, Stark learns magic from an old demon and becomes a hitman for one of the demonic lords. He
also comes into possession of a magical key that allows him to move back and forth between Hell and
Earth, which he eventually uses to escape Hell and return to Earth.

Once back in Los Angeles, Stark's singular goal is revenge. He wants to hunt down and kill the people
who sent him to Hell, especially Mason Faim, who not only betrayed him but also killed his beloved
girlfriend, Alice. Stark's revenge quest leads him to engage with the underbelly of LA's magical
community, full of supernatural creatures and dangerous magic.

As Stark navigates the world he once knew, now drastically changed, he's forced to confront his past, his
inner demons, and the very real, external demonic threats around him. His toughness, magic, and
never-give-up attitude, combined with a caustic wit, form his primary tools for survival.

In this initial part of "Sandman Slim," Kadrey quickly establishes Stark's character and his motivations
while also setting up the novel's central conﬂict. Stark's return from Hell is only the beginning of his
journey, a journey that is at once a quest for vengeance, a struggle for survival, and an exploration of
redemption and identity.

> Summarize in detail the next part of "Sandman Slim" by Richard Kadrey

Continuing from where we left off, James "Sandman Slim" Stark is now in Los Angeles, on a
single-minded mission for revenge against the circle of magicians who betrayed him, led by Mason Faim.

To navigate LA's magical underworld, Stark ﬁrst establishes a base of operations. He takes residence at
the Bamboo House of Dolls, a donut shop owned by Vidocq, a 200-year-old Frenchman who is an
alchemist and former adventurer. Vidocq becomes a helpful ally, providing Stark with valuable
information about the current landscape of the city's supernatural community.
            Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 9 of 11




Stark's initial investigation leads him to a bar frequented by the supernatural community, known as the
"Room 19." Here, he confronts Kasabian, an old acquaintance who was part of the circle that betrayed
him. Kasabian reveals that Mason Faim, Stark's main target, has disappeared, and none of the other
circle members know his whereabouts.

Throughout his investigation, Stark also learns about the ongoing power dynamics in the supernatural
community. He ﬁnds out about the existence of a group called the Golden Vigil, an elite, secret
organization that regulates supernatural activities and is apparently manipulating events behind the
scenes.

Stark becomes embroiled in a larger conspiracy, with a threat far more dangerous than he had initially
imagined. It's not just about personal revenge anymore; it becomes clear that an impending apocalypse is
being engineered by a faction of renegade angels known as the Kissi. Stark's personal revenge quest starts
to dovetail with the need to prevent this apocalypse.

Further complicating matters, Stark also learns that Mason Faim has been possessed by a powerful entity
known as the Azazel. This Azazel entity intends to exploit the looming apocalypse to its own ends.

In his quest, Stark encounters various supernatural entities such as zombies, demons, angels, and
witches. Each interaction and confrontation helps him piece together the puzzle, even as they present
their own unique challenges. Stark manages to eliminate some of his betrayers while also dealing with
other threats, his tough, sardonic persona masking a deep-seated guilt and sadness over Alice's death.

Despite the constant chaos, danger, and revelations, Stark remains focused on his mission. The early part
of his journey culminates with Stark realizing that to achieve his goals, he must not only confront his
enemies but also confront his own past and the choices he made. The lines between right and wrong,
friend and enemy start to blur, pushing Stark into a moral ambiguity that will characterize his journey in
the rest of the series.

> Summarize in detail the next part of "Sandman Slim" by Richard Kadrey

Continuing from where we left off, James "Sandman Slim" Stark, now aware of the larger stakes at hand,
must confront both the supernatural and personal threats facing him.

Stark continues to confront the circle of magicians that betrayed him. Through these confrontations, he
begins to understand the depth of Mason's treachery, and how his former friend not only manipulated
their circle but also orchestrated Alice's death. This revelation only serves to harden Stark's resolve for
vengeance.

At the same time, Stark learns more about the apocalyptic plot of the Kissi, the renegade angels, and how
it intertwines with the Azazel entity possessing Mason. It becomes clear that Stark's personal mission for
revenge and the need to save the world are becoming inextricably linked.
           Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 10 of 11




To counter these threats, Stark must dive deeper into the LA's supernatural underworld, all the while
harnessing his own infernal powers that he gained from his time in Hell. As he continues his
investigations, Stark is drawn into violent confrontations with various supernatural beings, with each
encounter testing his abilities and resolve.

Throughout this part of the story, Stark's interactions with Vidocq and Kasabian become particularly
important. Vidocq continues to act as a mentor and ally to Stark, helping him understand the intricacies
of the supernatural community, while Kasabian, despite their hostile past, gradually becomes an unlikely
comrade-in-arms.

As the story progresses, Stark's quest becomes increasingly personal. He is not just avenging his own
betrayal, but also Alice's death, a tragedy that continues to haunt him. Through his journey, we see Stark
wrestling with his guilt over Alice, his hatred for Mason, and his own role in the unfolding events. These
personal struggles add an emotional depth to Stark's hard-boiled persona and give his character a
nuanced complexity.

As the novel reaches its climax, Stark is not only battling external enemies, but also his own inner
demons. His ﬁnal showdown is not just against his betrayers and the apocalypse-threatening angels, but
also against his own past and the man he has become. It becomes clear that Stark's journey in "Sandman
Slim" is not just a quest for revenge, but also a quest for redemption and self-discovery.

> Summarize in detail the ending of "Sandman Slim" by Richard Kadrey

The ﬁnal chapters of "Sandman Slim" by Richard Kadrey come to a climactic conclusion as James
"Sandman Slim" Stark faces off against the conspirators of his downfall.

Despite the dangers he's faced and the signiﬁcant obstacles in his path, Stark remains committed to his
mission of avenging the death of his love, Alice, and exacting revenge on the circle of magicians who
betrayed him, especially Mason Faim.

It is revealed that Mason is possessed by the powerful entity, Azazel, who plans to use a heavenly weapon
called the Qomrama Om Ya to bring about the end of the world. This weapon has the power to
manipulate reality, and Azazel's plan involves exploiting the Kissi's apocalyptic scheme to reshape the
world to his own liking.

Stark, with the help of Vidocq and Kasabian, confronts Mason/Azazel. A brutal and bloody ﬁght ensues,
during which Stark is forced to use every bit of his knowledge, magic, and sheer determination to survive
and prevent the apocalypse.

Throughout the battle, Stark uses the skills he acquired in Hell, the insights he gained from Vidocq, and
his own cunning to hold his own against Mason/Azazel. The ﬁght culminates in Stark using the magical
key he got in Hell, manipulating its abilities in a way that ends up severing Azazel from Mason,
essentially exorcising the entity.
           Case 3:23-cv-03416-AMO Document 1-2 Filed 07/07/23 Page 11 of 11




Mason, now free of Azazel, is left powerless. But instead of killing him outright, Stark decides to let
Mason live, claiming that living as a weak, ordinary human is a fate worse than death for Mason.

With the immediate threat averted, Stark manages to dismantle the Qomrama Om Ya, preventing the
apocalypse. However, the experience leaves him drained and even more cynical about the supernatural
world around him. It's a bitter victory as Stark realizes that while he has achieved his revenge and saved
the world, he is still alone and tormented by his past.

In the end, Stark remains in Los Angeles, continuing to navigate the world of angels, demons, and magic.
The book closes with him considering his future, contemplating the possibility of turning his talents
towards becoming a supernatural detective or a protector of sorts, setting the stage for further adventures
in the subsequent books of the series.

In "Sandman Slim," Kadrey blends elements of urban fantasy, noir, and supernatural thriller to deliver a
gripping narrative. The story ends on a note of hard-earned victory, personal loss, and a promise of more
adventures to come, setting the tone for the rest of the series.
